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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS

                                        Case Number: 19-26


Roor International BV, a Foreign
Corporation, and Sream, Inc. a California
Corporation

                       Plaintiffs,

v.

Labyrinth Smoke Shop and John Doe

                  Defendants.
____________________________________/


               COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

       The Plaintiffs, ROOR INTERNATIONAL BV and SREAM, INC., (collectively referred

to as the “Plaintiffs”), by and through their undersigned counsel, hereby file this, their Complaint

against the Defendants,       LABYRINTH SMOKE SHOP                  (hereinafter referred to as

“LABYRINTH”) and JOHN DOE (hereinafter referred to as “JOHN DOE”), and allege, as

follows:

                                     Jurisdictional Allegations

       1.      This is a civil action against the Defendants for trademark infringement,

counterfeiting, and false designation of origin/unfair competition, under the Lanham Act (15

U.S.C. § 1051 et. seq.).

       2.      This Court has subject matter jurisdiction over the claims in this action that relate

to trademark infringement, counterfeiting, and false designation of origin and unfair competition

pursuant to the provisions of 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a).



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        3.      This Court has personal jurisdiction over the Defendants because LABYRINTH is

incorporated in and has its principal place of business in Texas, JOHN DOE resides in Texas,

and the Defendants regularly conduct and solicit business in the State of Texas (including in this

Judicial District).

                                              Venue

        4.      Venue is proper in this district under 28 U.S.C. § 1391(b) in that the Defendants

reside in this district, a substantial part of the events or omissions giving rise to the claim

occurred in this district, and the Defendants are subject to personal jurisdiction in this Judicial

District with respect to this action, and there is no other district in which the action may

otherwise be brought.

                                             Parties

        5.      RooR International BV (hereinafter referred to as “RooR Int’l”) is a Foreign

corporation that is incorporated in the Netherlands and has its principal place of business at Sint

Nicolaasstraat 19, 1012 NJ, Amsterdam. RooR Int’l is the registered owner of the “RooR”

trademark.

        6.      Sream, Inc. (hereinafter referred to as “Sream”) is a corporation incorporated in

California and has its principal place of business at 12869 Temescal Canyon Road, Suite A,

Corona, California, 92883. Sream is the exclusive U.S. licensee authorized to use the trademark

“RooR” and has been granted authority by the trademark owner to police and enforce the RooR

trademark within the United States.

        7.      LABYRINTH is a corporation that is incorporated in Texas, and has its principal

place of business at 223 Bedford Road, Bedford, TX 76022. LABYRINTH has engaged in the

unlawful manufacture, retail sale, and/or wholesale sales of counterfeit RooR branded water




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pipes and related parts.

       8.      At all times material to this Complaint, JOHN DOE owned, managed, and/or

operated LABYRINTH, and regularly exercised the authority to purchase products for resale,

decide which products LABYRINTH offered for sale, to hire and fire employees, and controlled

the finances and operations of LABYRINTH.

                                   Facts Common to All Counts

   A. The History of The RooR Brand.

       9.      Martin Birzle is an award-winning designer and manufacturer of smokers’

products. Based in Germany, since 1995, Mr. Birzle marketed and sold products using the

trademark “RooR.” The RooR branded products, such as borosilicate jointed-glass water pipes,

parts, and accessories related thereto, are widely recognized internationally and are highly

renowned for their ornate and innovative characteristics. Indeed, the RooR brand is one of the

leading companies in the industry, and has garnered numerous awards and recognition for its

innovative products and designs.

       10.     For nearly two decades, Mr. Birzle worked to distinguish the RooR brand as the

premier manufacturer of glass water pipes by emphasizing the brand’s unwavering use of quality

materials and focusing on scientific principles which facilitate a superior smoking experience.

RooR branded products embody a painstaking attention to detail, which is evident in many facets

of authentic RooR branded products. It is precisely because of the unyielding quest for quality

and unsurpassed innovation that RooR branded products have a significant following and

appreciation amongst consumers in the United States and internationally.

       11.     As a result of the continuous and extensive use of the trademark “RooR,” Mr.

Birzle was granted valid and subsisting federal statutory and common law rights to the RooR




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trademark. Mr. Birzle then assigned to RooR Int’l all the rights associated with the RooR

trademark, retroactively. The retroactive assignment to RooR Int’l was duly recorded with the

United States Patent and Trademark Office on January 10, 2018. A copy of the assignment

recordation is attached hereto as Exhibit “A.”

       12.     RooR Int’l is the owner of United States trademarks which are registered on the

Principal Register and have become incontestable within the meaning of Section 15 of the

Lanham Act, 15 U.S.C. § 1065. The following is a list of RooR Int’l’s federally registered and

common law trademarks:

               a.     U.S. Trademark Registration Number 3,675,839 for the word mark

       “RooR” and its logo in association with goods further identified in registration in

       international class 034.

               b.     U.S. Trademark Registration Number 2,307,176 for the word mark

       “RooR” and its logo identified below in association with goods further identified in the

       registration in international classes 025 and 034.

               c.     U.S. Trademark and Registration Number 2,235,638 for the word mark

       “RooR” and its logo identified below in association with goods further identified in the

       registration in international class 021.

               d.     Common law and unregistered state law rights in the following variants of

       the registered “RooR” trademarks:




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(hereinafter collectively the “RooR Marks”). A copy of the USPTO registrations is attached

hereto as Exhibit “B.”

   B. The RooR Brand in the United States.

       13.     Sream is a California corporation that has manufactured glass products and

various smokers’ articles, including water pipes, for nearly a decade. Additionally, since 2013,

Sream has been the exclusive licensee for the RooR Marks within the United States.

       14.     Pursuant to a licensing agreement between Sream and Mr. Birzle (hereinafter the

“License Agreement”), Sream has used the RooR Marks in commerce throughout the United

States continuously since 2013, in connection with the manufacturing of smokers’ products. See

License Agreement attached hereto as Exhibit “C.”

       15.     RooR Int’l, as the current owner of the RooR Marks, ratified the License

Agreement under the same terms and conditions on March 7, 2018. A copy of the ratification

agreement is attached here to as Exhibit “D.”

       16.     Under the License Agreement, Sream also advertises, markets, and distributes

water pipes, parts, and accessories related thereto and other smokers’ articles in association with

the RooR Marks. All of these activities are conducted in accordance with the highest standards

and policies maintained by RooR Int’l to control the quality of the RooR Brand.

       17.     Also pursuant to the License Agreement, Sream has been granted all rights to sue

to obtain damages and injunctive relief for past and future infringement of the RooR Marks in

the United States (hereinafter the “Enforcement Rights”). The License Agreement provides that

the Enforcement Rights granted to Sream under the License Agreement are tantamount to those

of an assignee, as contemplated by trademark law. The License Agreement also appoints Sream

as the trademark owner’s legal representative to police and enforce all rights in the RooR Marks




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within the United States. See License Agreement attached hereto as Exhibit “C.”

       18.     The RooR Marks are distinctive to both the consuming public and the Plaintiffs’

trade. Sream’s RooR branded products are made from superior materials – glass that is nearly

unbreakable – and are hand-blown by individual artists.         RooR Int’l has maintained, and

demanded of Sream, the same standards that made RooR a recognizable high quality brand. The

superiority of RooR branded products is not only readily apparent to consumers, who yearn for

the RooR brand’s higher quality glass in the marketplace, but to industry professionals as well.

The unique style and functional superiority of the RooR brand has earned it accolades in leading

trade magazines and online publications and has made the RooR Marks synonymous with high

quality products.

       19.     Since 2013, Sream has worked in conjunction with Mr. Birzle and now RooR

Int’l to build significant goodwill in the RooR brand in the United States. Together, the Plaintiffs

have spent substantial time, money, and effort in developing consumer recognition and

awareness of the RooR brand via point of purchase materials and displays, through their

websites, by attending industry trade shows, and through social media promotion. A wide array

of websites, magazines, and specialty shops include advertising of RooR branded products,

which are immediately identifiable.

       20.     Sream sells its products under the RooR Marks to its authorized distributors in the

United States, including in Texas. Sream has over a thousand authorized distributors nationwide

which include retail stores specializing in smoker’s products. As such, RooR branded products

reach a vast array of consumers ranging from the most sophisticated tobacco connoisseurs to

novice smokers.

       21.     It is because of the recognized quality and innovation associated with the RooR




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Marks that consumers are willing to pay higher prices for genuine RooR branded products. For

example, a RooR brand 45 cm water pipe retails for $300 or more, while a non-RooR branded

product of equivalent size will usually sell for less than $100. As such, sales of products bearing

the RooR Marks in the United States have been in excess of five million dollars ($5,000,000) for

the last three years.

        22.     It is exactly because of their higher sales value that RooR branded products are

targeted by counterfeiters. These unscrupulous people and entities tarnish the RooR brand by

unlawfully selling water pipes that have identical, or nearly identical, versions of the RooR

Marks affixed to products that are made with inferior materials and technology. Thereby leading

to significant illegitimate profits by store owners, such as the Defendants. In essence, the

Defendants mislead consumers by offering them low grade products that free ride on the

goodwill of the RooR brand, and in turn, the Defendants reap substantial ill-gotten profits. The

Defendants’ conduct contributes to the complete flooding of the marketplace with counterfeit

products, which results in lost sales and damages to the Plaintiffs and irreparable harm to the

RooR brand’s image.

        23.     Unfortunately, the current U.S. marketplace is saturated with counterfeit products

– like those the Defendants have offered for sale. As such, the Plaintiffs have been forced to

scrupulously enforce their rights in order to protect the RooR Marks against infringement. By

exercising its Enforcement Rights, Sream, with the cooperation of RooR Int’l, has proactively

and successfully policed the unauthorized use of the RooR Marks and/or counterfeit RooR

branded products nationwide. The Plaintiffs have had to bear great expense to seek out and

investigate suspected counterfeiters in their attempt to clean up the marketplace.        In many

instances, the Plaintiffs have had to seek redress from the courts in order to effectuate to enforce




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their rights in the RooR Marks.

                    Defendants’ Counterfeiting and Infringing Activities

       24.     The Defendants have, without consent of the Plaintiffs, offered to sell within the

United States, including within this judicial district, water pipes that were neither made by the

Plaintiffs nor by a manufacturer authorized by the Plaintiffs (hereinafter the “Counterfeit

Good(s)”). Nevertheless, the Defendants offered for sale, in commerce, Counterfeit Goods using

reproductions, counterfeits, copies and/or colorable imitations of one or more of the RooR Marks

(hereinafter the “Infringing Mark”). Photos of the Defendants’ offer for sale of counterfeit RooR

products is attached hereto as Exhibit “E.”

       25.      LABYRINTH used the RooR Marks by offering for sale unauthorized copies of

RooR branded products.          LABYRINTH’s offer for sale of Counterfeit Goods bearing the

Infringing Mark in this manner was and is likely to cause confusion or to cause mistake and/or

deceive consumers who purchase the Counterfeit Goods.

       26.     JOHN DOE authorized, directed, and/or participated in LABYRINTH’s offer for

sale, in commerce, of Counterfeit Goods bearing the Infringing Mark. JOHN DOE’s acts were a

moving, active, and/or conscious force behind LABYRINTH’s infringement of the RooR Marks.

       27.     The Defendants’ use of the Infringing Mark began long after Mr. Birzle obtained

the trademark registrations alleged above, and after Sream’s license and subsequent adoption and

use of the RooR Marks. Neither the Plaintiffs nor any authorized agents have consented to the

Defendants’ use of the RooR Marks, or any use of reproductions, counterfeits, copies and/or

colorable imitations thereof.




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       28.     The Defendants used images and names identical to or confusingly similar to the

RooR Marks, to confuse customers and aid in the promotion and sales of Counterfeit Goods

under the Infringing Mark.

       29.     The Infringing Mark affixed to the Counterfeit Goods that the Defendants have

offered for sale is confusingly identical or similar to the RooR Marks that Sream affixes to its

water pipes.

       30.     The water pipes the Defendants offer for sale and sells under the Infringing Mark

are made of substantially inferior materials and inferior technology as compared to genuine

RooR brand products.

       31.     LABYRINTH has offered for sale, under the authority, direction and/or

participation of JOHN DOE, its water pipes under the Infringing Mark through its retail store

specializing in smoker’s products.

       32.     LABYRINTH has offered for sale its Counterfeit Goods under the Infringing

Mark through point of purchase displays.

       33.     The Defendants’ infringing acts as alleged herein are likely to cause confusion,

mistake, and deception among the relevant consuming public as to the source or origin of the

Counterfeit Goods offered for sale by the Defendants, and are likely to deceive the relevant

consuming public into mistakenly believing that the Counterfeit Goods offered for sale by

LABYRINTH originate from, are associated or affiliated with, or are otherwise authorized by

RooR Int’l and/or Sream.

       34.     LABYRINTH’s acts are willful with the deliberate intent to trade on the goodwill

of the RooR Marks, cause confusion and deception in the marketplace, and divert potential sales

of authentic ROOR water pipes to LABYRINTH. At a minimum, LABYRINTH was




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intentionally blind to the likelihood of confusion.

       35.       JOHN DOE actively, knowingly, and intentionally adopted and used the

Infringing Marks with the intent to trade on the goodwill of the RooR Marks, cause confusion

and deception in the marketplace, and divert potential sales of authentic ROOR water pipes to

the Defendants.

       36.       JOHN DOE’s acts were a moving, active, and conscious force behind

LABYRINTH’s infringement of the RooR Marks.

       37.       JOHN DOE personally engaged in tortious conduct within the state of Texas.

       38.       The Defendants’ acts are causing and, unless restrained, will continue to cause

damage and immediate irreparable harm to the Plaintiffs, the RooR Marks, and to its valuable

reputation and goodwill with the consuming public for which the Plaintiffs have no adequate

remedy at law.

       39.       As a proximate result of the unfair advantage accruing to the Defendants’

business from deceptively trading on the Plaintiffs’ advertising, sales, and consumer recognition,

the Defendants have made and will continue to make substantial profits and gains to which they

are not in law or equity entitled.

       40.       The injuries and damages sustained by the Plaintiffs have been directly and

proximately caused by LABYRINTH’s wrongful offers for sale, authorized by JOHN DOE, of

their goods bearing infringements or counterfeits of the RooR Marks.

       41.       The Defendants’ offer for sale of Counterfeit Goods under the Infringing Mark

has resulted in lost business opportunities, customers, contracts, and sales to the Plaintiffs.

       42.       Through such business activities, the Defendants purposefully derived direct

benefits from its interstate commerce activities by targeting foreseeable purchasers in the State of




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Texas, and in doing so, have knowingly harmed the Plaintiffs.

          43.      By its wrongful conduct, the Defendants have traded upon and diminished the

goodwill of the RooR Marks.            Furthermore, the offer for sale of Counterfeit Goods by

LABYRINTH, authorized by JOHN DOE, has infringed upon the above-identified federally

registered trademarks.

          44.      The spurious marks or designations used by the Defendants in interstate

commerce are identical with, or substantially indistinguishable from, the RooR Marks on goods

covered by the RooR Marks. Such use therefore creates a false affiliation between the

Defendants and the Plaintiffs, and the RooR Marks.

          45.      Due to the actions of the Defendants, the Plaintiffs have been forced to retain the

undersigned counsel, and the Defendants is responsible for paying its reasonable costs of the

action.

          46.      The Defendants’ acts have damaged, and will continue to damage the Plaintiffs,

and the Plaintiffs have no adequate remedy at law.

          47.      The Defendants’ wrongful acts will continue unless enjoined by the Court.

Accordingly, the Defendants must be restrained and enjoined from any further counterfeiting or

infringement of the RooR Marks.

                                          Count One
                Federal Trademark Counterfeiting and Infringement, 15 U.S.C. § 1114

          48.      The Plaintiffs repeat and reallege paragraphs 1 through 47 hereof, as if fully set

forth herein.

          49.      RooR Int’l is the owner of the federally registered RooR Marks, as set forth in

more detail in the foregoing paragraphs. Mr. Birzle, as prior owner of the RooR Marks, granted

to Sream an exclusive license to use the RooR Marks in the United States, including the



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Enforcement Rights to obtain injunctive and monetary relief for past and future infringement of

the RooR Marks. RooR Int’l ratified Sream’s License Agreement after acquiring the RooR

Marks from Mr. Birzle.


       50.     The RooR Marks are valid, protectable, and distinctive trademarks that Mr. Birzle

and now RooR Int’l continuously used to promote its goods for almost two decades, of which

Sream has participated in since at least 2013. The relevant purchasing public recognizes the

RooR Marks as originating from and/or approved by RooR Int’l and/or its exclusive U.S.

licensee, Sream.

       51.     The Defendants, without authorization from the Plaintiffs, have used in commerce

spurious designations that are identical with, or substantially indistinguishable from, the RooR

Marks on goods covered by the registrations for the RooR Marks.

       52.     The Defendants’ unauthorized use of counterfeit marks of the registered RooR

Marks on and in connection with LABYRINTH’s offers for sale in commerce, under the

authorization, direction and/or participation of JOHN DOE, is likely to cause confusion or

mistake in the minds of the public and, in particular, tends to, and does, falsely create the

impression that the water pipes offered for sale by LABYRINTH originated with, are authorized,

sponsored or approved by Sream and/or RooR Int’l when, in fact, it is not.

       53.     The Defendants’ unauthorized use of the RooR Marks as set forth above is likely

to: (a) cause confusion, mistake and deception; (b) cause the public to believe that the water pipe

offered for sale by LABYRINTH is the same as Sream’s water pipes or that the water pipes

offered for sale by LABYRINTH are authorized, sponsored, or approved by Sream and/or RooR

Int’l, or that the Defendants are affiliated, connected, or associated with or in some way related

to Sream and/or RooR Int’l; and (c) result in the Defendants unfairly benefiting from the



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Plaintiffs’ advertising and promotion, and profiting from the reputation of the Plaintiffs and the

RooR Marks, all to the substantial and irreparable injury of the public, the Plaintiffs and the

RooR Marks and the substantial goodwill represented thereby.

       54.     LABYRINTH’s conduct as alleged herein is willful and is intended to, and is

likely to, cause confusion, mistake, or deception as to the affiliation, connection, or association

of LABYRINTH, with the Plaintiffs or the RooR Marks.

       55.     JOHN DOE actively, knowingly, and intentionally adopted and used the

Infringing Marks with the intent to trade on the goodwill of the RooR Marks, cause confusion

and deception in the marketplace, and divert potential sales of authentic ROOR water pipes to

the Defendants.

       56.     JOHN DOE’s acts were a moving, active, and conscious force behind

LABYRINTH’s infringement of the RooR Marks.

       57.     JOHN DOE personally engaged in tortious conduct within the state of Texas.

       58.     The Defendants’ acts constitute willful trademark infringement in violation of

Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       59.     The Defendants’ actions constitute the use by the Defendants of one or more

“counterfeit mark” as defined in 15 U.S.C. § 1116(d)(1)(B).

       60.     The Defendants’ use in commerce of the counterfeit RooR Marks has resulted in

lost profits to the Plaintiffs which are difficult to determine, caused considerable damage to the

goodwill of the Plaintiffs and the RooR Marks, and diminished the brand recognition of the

RooR Marks by introducing counterfeit products into the marketplace.

       61.     By reason of the foregoing, the Plaintiffs are entitled to, among other relief,

injunctive relief, an award of statutory damages, and costs of the action under Sections 34 and 35




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of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with prejudgment and post-judgment

interest.

                                       Count Two
                    Federal Trademark Counterfeiting, 15 U.S.C. § 1116(d)

        62.     The Plaintiffs repeat and reallege paragraphs 1 through 44 hereof, as if fully set

forth herein.

        63.     RooR Int’l is the owner of the federally registered RooR Marks, as set forth in

more detail in the foregoing paragraphs. Mr. Birzle, as prior owner of the RooR Marks, granted

to Sream an exclusive license to use the RooR Marks in the United States, including the

Enforcement Rights to obtain injunctive and monetary relief for past and future infringement of

the RooR Marks. RooR Int’l ratified Sream’s License Agreement after acquiring the RooR

Marks from Mr. Birzle.

        64.     The RooR Marks are valid, protectable, and distinctive trademarks that Mr. Birzle

and now RooR Int’l continuously used to promote its goods for almost two decades, of which

Sream has participated in since at least 2013. The relevant purchasing public recognizes the

RooR Marks as originating from and/or approved by RooR Int’l and/or its exclusive U.S.

licensee, Sream.

        65.     The Defendants, without authorization from the Plaintiffs, has used spurious

designations that are identical with, or substantially indistinguishable from, the RooR Marks on

goods covered by the registrations for the RooR Marks.

        66.     The Defendants’ unauthorized use of the RooR Marks on and in connection with

LABYRINTH’s offers for sale in commerce, under the authorization, direction and/or

participation of JOHN DOE, of water pipes through its retail store constitutes LABYRINTH’s

use of the RooR Marks in commerce.



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        67.    LABYRINTH’s conduct as alleged herein is willful and is intended to, and is

likely to, cause confusion, mistake, or deception as to the affiliation, connection, or association

of LABYRINTH, with the Plaintiffs or the RooR Marks.

        68.    JOHN DOE actively, knowingly, and intentionally adopted and used the

Infringing Marks with the intent to trade on the goodwill of the RooR Marks, cause confusion

and deception in the marketplace, and divert potential sales of authentic ROOR water pipes to

the Defendants.

        69.    JOHN DOE’s acts were a moving, active, and conscious force behind

LABYRINTH’s infringement of the RooR Marks.

        70.    JOHN DOE personally engaged in tortious conduct within the state of Texas.

        71.    The Defendants’ actions constitute trademark counterfeiting in violation of

Section 32 of the Lanham Act, 15 U.S.C. § 1116(d)(1)(B).

        72.    The offer for sale of counterfeit products by LABYRINTH, under the

authorization, direction and/or participation of JOHN DOE, has resulted in lost profits to the

Plaintiffs, caused considerable damage to the goodwill of the Plaintiffs and the RooR Marks, and

diminished the brand recognition of the RooR Marks by introducing counterfeit products into the

marketplace.

        73.    By reason of the foregoing, the Plaintiffs are entitled to, among other relief,

injunctive relief, an award of statutory damages, and costs of the action under Sections 34 and 35

of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with prejudgment and post-judgment

interest.

                                       Count Three
      Federal False Designation of Origin and Unfair Competition, 15 U.S.C. § 1125(a)

        74.    The Plaintiffs repeat and reallege paragraphs 1 through 46 hereof, as if fully set



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forth herein.

       75.      RooR Int’l is the owner of the federally registered RooR Marks, as set forth in

more detail in the foregoing paragraphs. Mr. Birzle, as prior owner of the RooR Marks, granted

to Sream an exclusive license to use the RooR Marks in the United States, including the

Enforcement Rights to obtain injunctive and monetary relief for past and future infringement of

the RooR Marks. RooR Int’l ratified Sream’s License Agreement after acquiring the RooR

Marks from Mr. Birzle.

       76.      The RooR Marks are valid, protectable, and distinctive trademarks that Mr. Birzle

and now RooR Int’l continuously used to promote its goods for almost two decades, of which

Sream has participated in since at least 2013. The relevant purchasing public recognizes the

RooR Marks as originating from and/or approved by RooR Int’l and/or its exclusive U.S.

licensee, Sream.

       77.      The Defendants, without authorization from the Plaintiffs, have used spurious

designations that are identical with, or substantially indistinguishable from, the RooR Marks on

goods covered by the registrations for the RooR Marks.

       78.      The Defendants’ unauthorized use of counterfeit marks of the registered RooR

Marks on and in connection with LABYRINTH’s offers for sale, under the authorization,

direction and/or participation of JOHN DOE, is likely to cause confusion or mistake in the minds

of the public and, in particular, tends to, and does, falsely create the impression that the water

pipes offered for sale by LABYRINTH originated with, are authorized, sponsored or approved

by Sream and/or RooR Int’l when, in fact, it is not.

       79.      The Defendants’ unauthorized use in commerce of the RooR Marks as alleged

herein constitutes use of a false designation of origin and misleading description and




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representation of fact in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

        80.    LABYRINTH’s conduct as alleged herein is willful and is intended to, and is

likely to, cause confusion, mistake, or deception as to the affiliation, connection, or association

of LABYRINTH, with the Plaintiffs or the RooR Marks.

        81.    JOHN DOE actively, knowingly, and intentionally adopted and used the

Infringing Marks with the intent to trade on the goodwill of the RooR Marks, cause confusion

and deception in the marketplace, and divert potential sales of authentic ROOR water pipes to

the Defendants.

        82.    JOHN DOE’s acts were a moving, active, and conscious force behind

LABYRINTH’s infringement of the RooR Marks.

        83.    JOHN DOE personally engaged in tortious conduct within the state of Texas.

        84.    The Defendants’ conduct as alleged herein is causing immediate and irreparable

harm and injury to the Plaintiffs, and to the goodwill and reputation of the RooR Marks, and will

continue to both damage the Plaintiffs and confuse the public unless enjoined by this Court. The

Plaintiffs have no adequate remedy at law.

        85.    By reason of the foregoing, the Plaintiffs are entitled to, among other relief,

injunctive relief, an award of statutory damages, and costs of the action under Sections 34 and 35

of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with prejudgment and post-judgment

interest.

                                    PRAYER FOR RELIEF

        WHEREFORE, the Plaintiffs, Sream, Inc., a California Corporation, and RooR

International BV, a Foreign Corporation, respectfully request the following relief against the

Defendants as follows:




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       1.      With regard to Plaintiffs’ claim for trademark infringement:

                   a. statutory damages under 15 U.S.C. § 1117(c) in the amount of $15,000.00;

                   b. Costs of suit;

                   c. Joint and several liability for JOHN DOE, and other officers, and

                       directors, for the knowing participation in the counterfeiting activities of

                       LABYRINTH;

       2.      With regard to Plaintiffs’ claim for false designation and unfair competition:

                   a. statutory damages under 15 U.S.C. § 1117(c) in the amount of $15,000.00;

                   b. Costs of suit;

                    c. Joint and several liability for JOHN DOE, and other officers, and

                        directors, for the knowing participation in the counterfeiting activities of

                        LABYRINTH;

       3.      Preliminarily and permanently enjoining LABYRINTH and its agents, employees,

officers, directors, owners, representatives, successor companies, related companies, and all

persons acting in concert or participation with it from:

                   a. The import, export, making, manufacture, reproduction, assembly, use,

                       acquisition, purchase, offer, sale, transfer, brokerage, consignment,

                       distribution, storage, shipment licensing, development, display, delivery,

                       marketing, advertising or promotion of the counterfeit RooR product

                       identified in the Complaint and any other unauthorized RooR product,

                       counterfeit, copy or colorful imitation thereof;

       4.      Pursuant to 15 U.S.C. § 1116(a), directing LABYRINTH to file with the Court

and serve on the Plaintiffs within thirty (30) days after issuance of an injunction, a report in




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writing and under oath setting forth in detail the manner and form in which LABYRINTH has

complied with the injunction;

        5.      For an order form the Court requiring that LABYRINTH provide complete

accountings and for equitable relief, including that LABYRINTH disgorge and return or pay

their ill-gotten gains obtained from the illegal transactions entered into and/or pay restitution,

including the amount of monies that should have been paid if LABYRINTH had complied with

their legal obligations, or as equity requires;

        6.      For an order from the Court that an asset freeze or constructive trust be imposed

on all monies and profits in LABYRINTH’s possession, which rightfully belong to the Plaintiffs;

        7.      Pursuant to 15 U.S.C. § 1118 requiring that LABYRINTH and all others acting

under LABYRINTH’s authority, at its cost, be required to deliver up to Sream for destruction all

products, accessories, labels, signs, prints, packages, wrappers, receptacles, advertisements, and

other material in their possession, custody or control bearing any of the RooR Marks;

        8.      For treble damages suffered by the Plaintiffs as a result of the willful and

intentional infringements engaged in by LABYRINTH, under 15 U.S.C. § 1117(b);

        9.      For all costs of suit;

        10.     For such other and further relief as the Court may deem just and equitable.



Date: January 9, 2019                                  Respectfully Submitted
                                                       /s/ Andrew K. Jacoby __________
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